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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              )   CR. NO. 17-00101 LEK
                                       )
          Plaintiff,                   )   GOVERNMENT’S RESPONSE TO
                                       )   DEFENDANT’S MOTION FOR
    vs.                                )   GOVERNMENT TO OUTLINE WHICH
                                       )   DEVICE(S) WERE SEARCHED THAT
ANTHONY T. WILLIAMS, (1)               )   CONTAINED THE EVIDENCE
                                       )   SOUGHT WHICH RESULTED IN THE
          Defendant.                   )   32 COUNTS OF MAIL AND WIRE
                                       )   FRAUD; EXHIBIT A; CERTIFICATE
                                       )   OF SERVICE


          GOVERNMENT’S RESPONSE TO DEFENDANT’S
          MOTION TO OUTLINE WHICH DEVICE(S) WERE
       SEARCHED THAT CONTAINED THE EVIDENCE SOUGHT
   WHICH RESULTED IN THE 32 COUNTS OF MAIL AND WIRE FRAUD

      The government respectfully submits this brief in response to Defendant

Anthony T. Williams’s (Defendant) Motion for Government to Outline Which
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Device(s) were Searched that Contained the Evidence Sought which Resulted in

the 32 Counts of Mail and Wire Fraud (Motion). The Motion primarily seeks to

require the government to: (1) identify the inculpatory evidence that it will

introduce at trial to prove the counts in the Superseding Indictment; and (2) reveal

the investigative source of the trial evidence, which the defendant presumes,

without basis, derived from electronic devices that were seized from him or his co-

defendants by the Federal Bureau of Investigation (FBI) as part of its investigation

into his mortgage fraud conduct in Honolulu, Hawaii.

       The motivation of the Motion appears to be the defendant’s ongoing

disapproval with the FBI’s investigative seizure of his electronic devices. Motion

Exh. A at 1 (“In paragraph 18 of the Search Warrant Application, [Honolulu FBI

Special Agent Megan] Crawley states, ‘If the Search determines that a digital

device does not contain any data falling within a list of items to be seized, the

Government will. . . Return the digital device. . .”) (emphasis in original); id. at 2

(“The government obtained the undersigned’s computers . . . and did not find Any

data. . . and yet the government has failed to return these devices . . . .”) (emphasis

in original).

       The Motion should be denied. Properly stated, the Motion seeks discovery

into the government’s trial preparation and strategy, which are outside its

obligation to produce. Moreover, to the extent that the defendant seeks additional


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information to probe the validity of the searches conducted pursuant to the

warrants issued by the District of Hawaii, that matter was heard by this Court on

May 10, 2019 and is pending decision. ECF No. 477. To the extent that the

defendant continues to seek the return of certain seized electronic devices, that

matter was decided by the Court on February 4, 2019. ECF No. 426.

                                  BACKGROUND

      The background of the investigations into the defendant’s conduct has been

described in numerous other filings. The Superseding Indictment arises out of a

mortgage fraud scheme executed by the defendant in at least two states, Florida

and Hawaii. FBI Miami and the Broward County Sheriff’s Department conducted

investigations of the defendant’s conduct in the State of Florida, in parallel with

the FBI Honolulu’s investigation in the State of Hawaii.

                                    ARGUMENT

      The Motion should be denied insofar as it requests information regarding the

government’s trial preparation. The defendant seeks an Order requiring the

government to:

             1) “Outline which device each of the 16 counts of wire
                fraud was obtained from [sic];
             2) Outline which device each of the 16 counts of mail
                fraud was obtained from [sic];
             3) Outline the dates and times each device was searched;
             4) Outline the name and title of the Agent that conducted
                the search;


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               5) Outline what program(s) was used to search the
                  devices; and
               6) Outline which device(s) didn’t contain any of the data
                  or evidence falling within the list of items seized.”

Motion 4. Each of these demands is addressed below.

I.    Requests (1) and (2) For Which Device Each Count “Was Obtained
      From”; Request (5) for Program(s) “Used to Search The Devices”

      As written, Requests (1) and (2) of the Motion are nonsensical, as none of

the counts in the Superseding Indictment were “obtained from” a device.

However, to the extent that the defendant seeks to understand the evidence that the

government intends to introduce at trial to support each specific count, and to trace

the evidence to its source, the government is under no obligation to provide this

information.

      Fed. R. Crim. Proc. 16, as well as United States v. Brady, 397 U.S. 742

(1970), United States v. Giglio, 405 U.S. 150 (1972), and 18 U.S.C. § 3500, govern

the government’s discovery obligations. Pursuant to these authorities, the

government has provided a substantial volume of discovery to the defendant, and

continues to do so. While Rule 16 requires the government to produce items to the

defendant in discovery that “the government intends to use. . . in its case-in-chief at

trial,” no authority requires the government to identify which evidence it intends to

use to prove a particular count. Cf. Weatherford v. Bursey, 429 U.S. 545, 559




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(1977) (“There is no general constitutional right to discovery in a criminal case,

and Brady did not create one.”).

      In essence, the Motion asks the government for affirmative discovery into

the government’s trial preparation, akin to interrogatories or requests for admission

in civil litigation. See, e.g., Fed. R. Civ. Proc. 33, 36. However, these discovery

mechanisms do not exist in the Federal Rules of Criminal Procedure. See United

States v. Andrade-Larrios, 39 F.3d 986, 988 (9th Cir. 1994) (“[T]he Federal Rules

of Civil Procedure do not apply in criminal cases.”). Criminal discovery is more

limited than civil discovery. United States v. $119,984, 304 F.3d 165, 176 n.10 (2d

Cir. 2002). The limitations on criminal discovery exist to “prevent perjury and

manufactured evidence, to protect potential witness[es] from harassment and

intimidation, and to level the playing field between the government and the

defendant, who would be shielded from certain discovery by the Fifth

Amendment.” SEC v. Nicolas, 569 F. Supp. 2d 1065, 1071-72 (C.D. Cal. 2008),

citing Campbell v. Eastland, 307 F.2d 478, 487 n.12 (1962).

      Accordingly, the defendant is not entitled to have the government identify

what trial evidence it intends to rely upon to prove a particular count. As the

government need not identify its trial evidence, it follows that it need not trace the

trial evidence to a particular investigative source. Similarly, no authority requires

the government to identify the software it used to search electronic devices.


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II.    Requests (3) and (4) For “Dates and Time of
       Search” and “Identity of Agent Conducting the Search”

       The government is producing all the discovery that it is required to produce

in connection with the Superseding Indictment. Although the government disputes

that it is under any obligation to provide further response to the defendant’s

discovery demand, the government’s production to date contains the returns for the

search warrants issued by this Court, which may be found at bates ranges

WILLIAMS_ET_AL000000460-61, and WILLIAMS_ET_AL000000502-04.

III.   Request (6) for “Devices That Didn’t Contain Any of the
       Data or Evidence Falling Within the List of Items Seized”

       The defendant’s demand for an outline of “devices that didn’t contain any of

the data or evidence falling within the list of items seized” should be also denied.

It appears from the context of the motion that the phrase “list of items seized” in

this demand refers to the description of items to be searched and seized as set forth

in Attachment B to each of the search warrants issued by this Court. Motion Exh.

A at 2, ECF No. 488-2 (referencing language in Search Warrant application, signed

by FBI Special Agent Megan Crawley). Thus, the defendant appears to ask for a

list of devices that were seized and searched pursuant to the two search warrants

issued by this Court for the Hawaii investigation, from which the FBI was not able

to seize data and evidence within the scope of Attachment B.




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      The only relevance of this information is to support a demand for the return

of certain items that were seized pursuant to the search warrants. As noted by this

Court in deciding this issue with respect to other electronic evidence seized

pursuant to Florida warrants, “if the United States has a need for the property in an

investigation or prosecution, its retention of property is generally reasonable.”

Order at 3, ECF No. 426 (citing Fed. R. Crim. Proc. 41(g) advisory committee’s

note to 1989 amendment). The Court is currently considering the issue of whether

the warrants issued by the Court were overbroad, and the execution of the warrants

in Hawaii by the FBI was reasonable. See Defendant’s Motion for Suppression of

Evidence Exh. A at 11-12, ECF No. 437-2 (“No investigative agent acting in good

faith could possibly believe these files were relevant to the investigation outlined

in Crawley’s affidavit, and no probable cause was even attempted to demonstrate a

basis to seize such files.”) (pertaining to items seized pursuant to Hawaii warrants).

The Suppression Motion therefore addresses the very the issue that the defendant

seeks discovery into in the current motion. The defendant should not be permitted

to re-litigate this issue through backdoor of an otherwise impermissible discovery

motion.

      In any event, the government is from time to time evaluating whether it has

an ongoing investigative or prosecutorial purpose to maintain certain items that

were seized in connection with this investigation. When it determines that certain


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items are no longer needed for this prosecution, the government will endeavor to

make those items available for return. 1

                                   CONCLUSION

      For the reasons above, the government respectfully requests that the Court

deny the Motion.

             DATED:       June 12, 2019, at Honolulu, Hawaii.
                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney




1
  See, e.g., Exhibit A. It should be noted that most, if not all, electronic devices
are prohibited by the Federal Detention Center, Honolulu, and so must be made
available through the defendant’s standby counsel or a third party.
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